Case 4:22-cv-00450-P Document 31 Filed 12/20/22     Page 1 of 1 PageID 245



                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CHRISTOPHER A. TAFOLLA,

        Plaintiff,

   v.                                             No. 4:22-cv-0450-P

   A. WACKER,

        Defendant.

                           FINAL JUDGMENT
      Consistent with the notice of voluntary dismissal of action without
   prejudice filed by Plaintiff, Christopher A. Tafolla, on December 19,
   2022, Plaintiff’s claims against Defendant, A. Wacker, are DISMISSED
   WITHOUT PREJUDICE, each party to bear the court costs and
   attorney’s fees incurred by that party.

        SO ORDERED on this 20th day of December 2022.




                                     Mark T. Pittman
                                     UNITED STATES DISTRICT JUDGE
